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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
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 GIDEON RAPAPORT,                                                    Case No.: 1:23-cv-06709 (JGLC)

                           Plaintiff,                                MOTION FOR ADMISSION
                                                                     PRO HAC VICE
         -against-

 AJAY SRINIVASAN IYER,
 ZACHARY GEORGE GARRETT, and
 RICHARD ALLEN EPSTEIN,

                            Defendants.
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        Pursuant to Rule 1.3(c) of the Local Rules of the United States District Courts for

the Southern and Eastern Districts of New York, Brian J. Field hereby moves this Court

for an Order for admission to practice Pro Hac Vice to appear as counsel for Defendants

Ajay Srinivasan Iyer and Zachary George Garrett in the above-captioned action.

        I am a member in good standing of the Bar of the District of Columbia and there

are no pending disciplinary proceedings against me in any state or federal court. I have

never been convicted of a felony. I have never been censured, suspended, disbarred or

denied admission or readmission by any court. I have attached the affidavit required by

Local Rule 1.3.
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Dated: July 17, 2024                       Respectfully submitted,

                                           /s/ Brian J. Field
                                           Brian J. Field (D.C. Bar No. 985577)
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                                           Ajay Srinivasan Iyer and
                                           Zachary George Garrett




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